Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 1 of 26 PageID: 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



OANDA Corporation,

             Plaintiff
                                          Civil Action No. 2:20-cv-5784
v.
                                          JURY TRIAL DEMANDED
GAIN Capital Holdings, Inc.;
GAIN Capital Group, LLC.

              Defendants.




                    COMPLAINT FOR PATENT INFRINGEMENT

Plaintiff OANDA Corporation (“OANDA” or “Plaintiff”) complains and alleges as

follows against defendants GAIN Capital Holdings, Inc. and GAIN Capital Group,

LLC (dba FOREX.com) (collectively, “GAIN” or “Defendants”). These allegations

are made based on personal knowledge as to OANDA with respect to its own actions,

and upon information and belief as to all other matters.

                                   THE PARTIES

      1.     Plaintiff OANDA is a Delaware corporation, having offices at 1441

Broadway 6th Floor, Suite 6027, New York, New York 10018.




                                          1
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 2 of 26 PageID: 2




      2.     OANDA is a global leader in online multi-asset trading services and

currency data and analytics.

      3.     OANDA is the owner, by assignment, of U.S. Patents No. 7,146,336

(the ʼ336 Patent) and 8,392,311 (the ʼ311 Patent), attached as Exhibit A and Exhibit

B, respectively.

      4.     On information and belief, Defendant GAIN Capital Holdings, Inc. is a

Delaware corporation, with its global headquarters at 135 U.S. Highway 202/206,

Bedminster, New Jersey 07921.

      5.     On information and belief, Defendant GAIN Capital Group, LLC is a

Delaware limited liability company, with its global headquarters at 135 U.S.

Highway 202/206, Bedminster, New Jersey 07921.

      6.     On information and belief, GAIN Capital Group, LLC owns and

operates the website https://forex.com, among others, which provides foreign

exchange (also known as “forex” or “FX”) trading and brokerage services, including

an online trading platform, and which infringes OANDA’s patent rights as described

herein.

      7.     On information and belief, GAIN Capital Holdings, Inc. owns and

operates the website https://www.gaincapital.com and uses the services of GAIN

Capital Group, LLC, including the application programming interfaces (APIs)

provided by https://forex.com, to operate automated trading platform(s).

                                         2
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 3 of 26 PageID: 3




                            JURISDICTION AND VENUE

       8.    This is an action for patent infringement arising under 35 U.S.C. §1, et

seq.

       9.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §1331.

       10.   This Court has both general and specific personal jurisdiction over

Defendants. Each of the Defendants has sufficient minimum contacts within the

State of New Jersey (including via Defendants locating their worldwide headquarters

here, as well as sales of Defendants’ products and services in New Jersey), pursuant

to due process and/or the New Jersey Long Arm Statute, because Defendants

purposefully availed themselves of the privileges of conducting business in New

Jersey, because Defendants regularly conduct and solicit business within New

Jersey, and because Plaintiff’s causes of action arise directly from Defendants’

business contacts and other activities in the State of New Jersey.

       11.   Venue is proper in this District pursuant to 28 U.S.C. §1400(b) because

Defendants have committed acts of infringement in this District, including at least

those acts complained of herein, and have regular and established places of business

in New Jersey.

//

//

                                          3
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 4 of 26 PageID: 4




                    THE SCHOLARSHIP & INVENTIONS OF OANDA

      12.    OANDA, a market leader in currency data and currency trading, was

founded in 1996 by Dr. Michael Stumm and Dr. Richard Olsen.

      13.    Dr. Michael Stumm is a teacher, researcher, entrepreneur, and

executive. As a professor in the University of Toronto’s Department of Electrical

and Computer Engineering, he has published over 100 papers in top-tier conference

proceedings and scientific journals. Dr. Stumm is the inventor or co-inventor on

fifteen U.S. patents related to market and currency trading and telecommunications

networks.

      14.    Dr. Richard Olsen is an academic, entrepreneur, and founder of Olsen

Ltd., a leading econometric research and development firm. Dr. Olsen is the lead

author of the textbook, An Introduction to High-Frequency Finance (Academic

Press, 2001), which provides the first and only source of unified information about

high-frequency data, with a particular emphasis on foreign exchange markets. Dr.

Olsen is the inventor or co-inventor on nine U.S. patents related to market and

currency trading.

      15.    Dr. Stumm and Dr. Olsen’s vision in founding OANDA was to make

currency exchange rate information more accessible to a broader audience. By the

mid-1990s, even with the advent of the internet, there were no centralized,

transparent exchanges for currencies that retail investors could access, as there were

                                          4
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 5 of 26 PageID: 5




for stocks. That lack of transparency allowed large banks and currency dealers to

maintain large “spreads” (the price difference between where a trader may purchase

or sell an underlying asset) for retail customers.

      16.    In 1996, OANDA launched the world’s largest and most accurate

database of currency prices, employing Dr. Stumm’s technological expertise and Dr.

Olsen’s expertise in currency markets. OANDA soon became the gold standard for

forex prices and interbank exchange rates online, relied upon by major corporations,

auditing firms, and individual traders alike.

      17.    In 2000, Dr. Stumm and Dr. Olsen had the idea to create an online

automated trading platform, through which they could offer individual investors the

more favorable rates banks used to trade currency among themselves. Prior to that,

while OANDA had made accurate exchange rates more available to the public,

banks and currency dealers continued to charge consumers large spreads when

trading currency. While some online trading platforms existed at that time, they

suffered from a number of deficiencies. In the then-existing online currency market,

for example, a trade went through three steps from initiation to execution: (1) the

trader specified to a dealer the “currency pair” (a price quote of the exchange rate

for two different currencies traded in forex markets) and the amount that the trader

would want to trade (without specifying whether he or she would like to buy or sell);

(2) the dealer specified to the trader both a bid and an ask price and gave the trader

                                           5
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 6 of 26 PageID: 6




several seconds to respond, in order to protect against price fluctuations (the dealer

not knowing whether the trader would buy, sell, or reject the offer); and (3) the trader

either rejected the offer or specified whether the trader was buying or selling (with

his or her response having to occur within a timeframe of a few seconds).

      18.    This “three-way handshake” created problems, including that potential

internet delays might not allow the trader to respond within the few-seconds

window, and that corporate firewalls restricted the flow of information outside the

corporate network.

      19.    Dr. Stumm and Dr. Olsen used their combined expertise to invent

systems and methods for online currency trading that overcame these and other

deficiencies of then-existing online currency trading. Their inventions, for example,

allowed for execution of online currency transactions with only two

communications, instead of three, eliminated the previous problems with timing

lags, and built in automated protections against price fluctuations. Dr. Stumm and

Dr. Olsen were granted patent protection on these novel systems and methods,

including the ’336 and ’311 Patents, among others.

      20.    These inventions were embodied in OANDA’s pioneering currency

trading platform, fxTrade, which launched in 2001. The first fully automated online

currency trading platform, fxTrade, among other features, monitored market

exchange rates, offered immediate price quotes (with a much smaller spread than

                                           6
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 7 of 26 PageID: 7




offered by banks), executed trades instantaneously, and prevented clients from

risking too much money through automatic stop-loss orders.           It also allowed

customers to trade with deposits as small as one dollar, while charging interest on

leveraged trades on a second-by-second basis.

        21.   As stated in the provisional patent application that forms the basis for

the ’336 and ’311 Patents, and which is also the manuscript for the textbook An

Introduction to High-Frequency Finance:

              As the archetype of financial markets, the foreign exchange
              market is the largest financial market worldwide. It involves
              dealers in different geographic locations, time zones, and
              working hours who have different time horizons, home
              currencies, information access, transaction costs, and other
              institutional constraints.

Ex. C, US Provisional Patent App. 60/274,174, p.15; see also Olsen, et al., An

Introduction to High-Frequency Finance, Preface, p. xxi.

        22.   Additionally, the provisional patent discussed the skepticism amongst

academics and others at the time to the innovations and inventions of the patents-in-

suit:

              Recently, the skepticism among academics to the possibility of
              developing profitable trading models has decreased with the
              publication of many papers that document profitable trading
              strategies in financial markets, even when including transaction
              costs.

              …



                                          7
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 8 of 26 PageID: 8




             The purpose of this chapter is not to provide ready-to-use trading
             strategies, but to give a description of the main ingredients
             needed for any real-time trading model to be usable for actual
             trading on financial markets. Any reasonable trading strategy is
             composed of a set of tools that provides trading
             recommendations within a capital management system.

             …

             To construct successful trading strategies is not an easy task and
             many possible mistakes must be avoided during the different
             development phases of new models. We shall describe here
             some of the main traps in which new system designers generally
             fall and provide some ideas as to how to construct more robust
             trading strategies.

Ex. C, US Provisional Patent App. 60/274,174, pp. 315-317; see also Olsen, et al.,

An Introduction to High-Frequency Finance, Ch. 11 – Trading Models, pp. 295-297

(Academic Press, 2001) (emphasis in original).

                                  THE ʼ336 PATENT

      23.    On December 5, 2006, the United States Patent and Trademark Office

duly and legally issued United States Patent No. 7,146,336, entitled “Currency

Trading System, Methods, and Software.” A true and correct copy of the ’336 Patent

is attached as Exhibit A.

      24.    The ʼ336 Patent and its claims are entitled to, at least, the benefit of the

filing date of its provisional patent application, 60/274,174, which was filed on

March 8, 2001. A true and correct copy of the provisional patent application

60/274,174 is attached as Exhibit C.

                                           8
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 9 of 26 PageID: 9




      25.    OANDA is the owner, by assignment, of the ʼ336 Patent.

      26.    The ʼ336 Patent teaches, among other things:

             In one aspect, the present invention comprises a system for
             trading currencies over a computer network. A preferred
             embodiment comprises: (a) a server front-end; (b) at least one
             database; (c) a transaction server; (d) a rate server; (e) a pricing
             engine; (f) an interest rate manager; (g) a trade manager; (h) a
             value at risk server; (i) a margin control manager; (j) a trading
             system monitor; and (k) a hedging engine. In another aspect, the
             present invention comprises methods for trading currency over a
             computer network. In another aspect, the present invention
             comprises software for currency trading over a computer
             network.

             U.S. Patent 7,146,336, Abstract.
      27.    The claims of the ʼ336 Patent are, and are presumed to be, valid, patent-

eligible and enforceable.

      28.    The claims of the ʼ336 Patent are not directed to an abstract idea or

concept. Rather, they are directed to specific implementations of computerized

trading systems and interfaces for trading currencies (e.g., foreign exchange or

“forex”).

//

//

//

//

//

//
                                           9
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 10 of 26 PageID: 10




                                (’336 Patent, Fig. 2)

      29.    Each of the claims of the ʼ336 Patent is inventive over the prior art,

including but not limited to independent claims 1-5, 7, and 11, and dependent claims

6 and 8-10. Specifically, the claims are non-abstract and embody an inventive

concept at least because their claimed elements, combinations of elements, and the

interactions between those elements was not well-understood, routine, and

conventional at the time of the application.

      30.    The claims of the ʼ336 Patent claim technological improvements on the

prior art, including but not limited to the Piskiel, Heinzle, Usher, Selleck, Szoc,

Tsagarakis, Lange, and Rossman references listed on the face of the patent.

      31.    The ʼ336 Patent’s improvements over traditional on-line currency

trading are discussed within the specification of the patent itself, including the
                                         10
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 11 of 26 PageID: 11




limitations of the prior art’s traditional systems. See ʼ336 Patent, Col. 1:18-43.

These improvements and the claims of the ʼ336 Patent, as well as the use of the claim

elements to accomplish the goals of the invention, were inventive, unconventional,

and not well known as of the priority date of the ʼ336 Patent.

      32.    The ʼ336 Patent’s benefits include, but are not limited to, that its

claimed teachings lessened or eliminated the problems of, among other things,

paying and collecting interest, and executing stored orders, as discussed in the

specification. The claimed inventions are able to overcome these at least because,

by having a computerized interest rate manager calculate, pay out, and collect

interest on a tick-by-tick basis, or by having a trade manager check stored orders,

more accurate and comprehensive trades and payments of interest (e.g., “rollover”)

can be accomplished than is possible with human beings involved. In this respect,

the claimed systems make it both quantitatively and qualitatively different from what

can be accomplished by humans, teams of humans, or the prior art systems.

      33.    For example, the computerized interest rate managers claimed by the

ʼ336 Patent enable accurate payment and collection of interest, even on small

positions, which would have been impossible and unprofitable to calculate using

humans. Similarly, the computerized trade manager claimed by the ʼ336 Patent

makes tracking and execution of varied and complex stored orders (e.g., stop loss,

take profit, and limit) possible, in real time, with an accuracy that would be

                                         11
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 12 of 26 PageID: 12




impossible for humans to attain, not least because – due to the extremely high

frequency of the price movements – it would be physically impossible for humans

to simultaneously monitor the price movements, receive and input orders from

traders, compare the current prices against the stored orders, and report the execution

back to the traders.

      34.     Moreover, as discussed and claimed by the ʼ336 Patent in Claim 11, by

implementing the disclosed trading system, brokers can automatically catch traders

or accounts who are operating outside their margin limits and automatically liquidate

their holdings in real time. This protects the broker from the credit risk of positions

held in accounts on margin that are overrunning their margin limits.

      35.     As discussed in the specification of the ’336 Patent, this approach to

trading currencies is unconventional and a sharp departure from the traditional

methods described in the specification and in the prior art.

      36.     Each of the claims of the ʼ336 Patent are patentably distinct from each

other and offer individualized technological improvements and differing inventive

concepts, which vary each claim from the other claims. None of the claims of the

ʼ336 Patent are duplicative or representative of the other claims because the

technological limitations of each claim differ from the others.

      37.     For example, Claim 6, which depends from Claim 5, adds the

limitation:

                                          12
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 13 of 26 PageID: 13




              wherein said pricing engine is further operable to compute
              currency exchange rates based on positions held by said system.

This limitation is not present in Claim 5 and adds the specific technological

requirements recited therein, which improve on the prior art systems and methods;

in this case, a way for the system operator to take into account its own positions to

advantageously set exchange rates.

      38.     For a further example, Claim 10, which depends from Claim 8, adds the

limitation:

              at least one of said one or more trading models comprises: (a) a
              price collector component; (b) a price filter component; (c) a
              price database component; (d) a gearing calculator component;
              (e) a deal acceptor component; (f) an opportunity catcher
              component; and (g) a book-keeper component.

This limitation is not present in Claim 8 and adds the specific technological

requirements recited therein, which improve on the prior art systems and methods;

in this case, that the system include subsystems for, among other things, monitoring

and acting on prices, gearing, deals, and opportunities.

      39.     Regarding independent claims 1-5, 7, and 11, it was not well-

understood, routine, and conventional at the time of the application to trade

currencies over a computer network using a trading client system, as specified in

those claims, at least because of the deficiencies of the prior art systems described

in the specification and in the prosecution history.



                                          13
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 14 of 26 PageID: 14




      40.    Regarding dependent claims 6 and 8-10, each of these dependent claims

add the additional specific limitations recited therein to the claims from which they

depend, further reinforcing and adding to the specific technological requirements of

the claimed methods.

      41.    Further, the claims of the ʼ336 Patent claim specific technological

improvements on pre-existing technological systems and methods, including the

traditional on-line currency markets discussed in the patent, as well as the prior art

patents and other references cited on the face of the patent (e.g., Piskiel, Heinzle,

Usher, Selleck, Szoc, Tsagarakis, Lange, and Rossman.)

      42.    Regarding each of the independent claims, it was further not well

understood, routine, and conventional to combine the elements of these independent

claims with the elements of their respective allowed dependent claims.

                                  THE ’311 PATENT

      43.    On March 5, 2013, the United States Patent and Trademark Office duly

and legally issued United States Patent No. 8,392,311, entitled “Currency Trading

System, Methods, and Software.” A true and correct copy of U.S. Patent No ’311 is

attached as Exhibit B.

      44.    The ʼ311 Patent and its claims are entitled to, at least, the benefit of the

filing date of its provisional patent application, 60/274,174, which was filed on

March 8, 2001. Exhibit C.

                                          14
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 15 of 26 PageID: 15




      45.    OANDA is the owner, by assignment, of the ʼ311 Patent.

      46.    The ’311 Patent teaches, among other things:

             In one aspect, the present invention comprises a system for
             trading currencies over a computer network. A preferred
             embodiment comprises: (a) a server front-end; (b) at least one
             database; (c) a transaction server; (d) a rate server; (e) a pricing
             engine; (f) an interest rate manager; (g) a trade manager; (h) a
             value at risk server; (i) a margin control manager; (j) a trading
             system monitor; and (k) a hedging engine. In another aspect, the
             present invention comprises methods for trading currency over a
             computer network. In another aspect, the present invention
             comprises software for currency trading over a computer
             network.

             U.S. Patent 8,392,311, Abstract.
      47.    The claims of the ʼ311 Patent are, and are presumed to be, valid, patent-

eligible and enforceable.

      48.    The claims of the ʼ311 Patent are not directed to an abstract idea or

concept. Rather, they are directed to specific implementations of computerized

trading systems and interfaces for trading currencies (e.g., foreign exchange or

“FX”).

      49.    Each of the claims of the ʼ311 Patent is inventive over the prior art,

including but not limited to independent claims 1 and 7 and dependent claims 2-6.

Specifically, the claims are non-abstract and embody an inventive concept at least

because their claimed elements, combinations of elements, and the interactions

between those elements, was not well-understood, routine, and conventional at the

time of the application.
                                          15
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 16 of 26 PageID: 16




      50.    The claims of the ʼ311 Patent claim technological improvements on the

prior art, including but not limited to the Potter, Buchalter, Selleck, Szoc, Cagan,

McDermott, and Turton references listed on the face of the patent.

      51.    The ʼ311 Patent’s improvements over traditional on-line currency

trading are discussed within the specification of the patent itself, including the

limitations of the prior art’s traditional methods. See ʼ311 Patent, Col. 1:20-39.

These improvements and the claims of the ʼ311 Patent, as well as the use of the

elements of the claims to accomplish the goals of the invention, were inventive,

unconventional, and not well known as of the priority date of the ʼ311 Patent.

      52.    The ʼ311 Patent’s benefits include, but are not limited to, that its

claimed teachings lessened or eliminated the problems of the three-way handshake,

as discussed in the specification. The claimed inventions were able to overcome the

problems of the three-way handshake at least because, by cutting out human beings

from certain parts of the process and having a client-server computer system transmit

constantly updated exchange rates and prices, and constantly receive orders, the

customers (traders) using the system will have more accurate pricing data due to

decreases in the latency of the system. Additionally, by having the system constantly

receive orders from traders, the incidence of orders refused because the price had

changed while the trader was waiting for a response from a human is greatly reduced.




                                         16
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 17 of 26 PageID: 17




                                 (’311 Patent, Fig. 3)

      53.     As discussed in the specification, this approach to trading currencies is

unconventional and a sharp departure from the traditional method described as the

three-way handshake in the specification.

      54.     Each of the claims of the ʼ311 Patent are patentably distinct from each

other and offer individualized technological improvements, and differing inventive

concepts, which vary each claim from the other claims. None of the claims of the

ʼ311 Patent are duplicative or representative of the other claims because the

technological limitations of each claim differ from the others.

      55.     For example, Claim 2, which depends from Claim 1, adds the

limitation:

                                          17
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 18 of 26 PageID: 18




              wherein the requested trade price is derived from a respective
              one of the first price or second price of the received current
              exchange rate and a user input limit value defining a maximum
              acceptable difference between the respective one of the first price
              or second price of the received current exchange rate received
              at the trading client system and the respective one of the first
              price or second price of the corresponding current exchange rate
              determined at the trading client system at which the trade can be
              effected.

This limitation is not present in Claim 1 and adds the specific technological

requirements recited therein, which improve on the prior art systems and methods;

in this case, a specific method for deriving the requested trade price at the trading

client system.

      56.     For a further example, Claim 4, which depends from Claim 2, adds the

limitation:

              displaying to the user a set of input fields to define a desired
              trade, the input fields including an identification of the pair of
              currencies the user desires to trade, the amount of the currencies
              desired to be traded, the selected first price or second price of
              the current exchange rate received at the trading client system
              and a limit value, and where the input fields to identify the pair
              of currencies and the first price or second price are populated
              with appropriate values determined from the user's selection of
              the one of the first price or second price;.

This limitation is not present in Claim 1 or Claim 2 and adds the specific

technological requirements recited therein, which improve on the prior art systems

and methods; in this case, a particular user interface that includes input fields to




                                           18
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 19 of 26 PageID: 19




define a desired trade, including an identification of the pair of currencies the user

desires to trade.

      57.    Regarding independent claims 1 and 7, it was not well-understood,

routine, and conventional at the time of the application to trade currencies over a

computer network using a trading client system, as specified in claims 1 and 7 of the

ʼ311 Patent, at least because of the deficiencies of the prior art systems described in

the specification and in the prosecution history.

      58.    Regarding dependent claims 2-6, each of these dependent claims add

the additional specific limitations recited therein to the claims from which they

depend, further reinforcing and adding to the specific technological requirements of

the claimed methods.

      59.    Further, the claims of the ʼ311 Patent claim specific technological

improvements on pre-existing technological systems and methods, including the

traditional on-line currency markets discussed in the patent, as well as the prior art

patents and other references cited on the face of the patent (e.g., Potter et al.,

Buchalter, Selleck, Szoc et al., Cagan, McDermott, and Turton.)

      60.    Regarding each of the independent claims, it was further not well

understood, routine, and conventional to combine the elements of said independent

claims with the elements of their respective allowed dependent claims.




                                          19
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 20 of 26 PageID: 20




                           DEFENDANTS’ INFRINGEMENT

      61.    Defendant    Gain    Capital    Group,   LLC     operates   the   website

https://forex.com, where it, as shown in the screenshot below, provides an online

currency trading platform. Defendant also offers desktop and mobile apps, API

access, white-label systems (Defendants’ systems being offered under another

company’s label), and other technological mechanisms for foreign exchange trading.

Defendant GAIN Capital Holdings, Inc. uses GAIN Capital Group, LLC’s platform,

including the APIs, to operate automated infringing trading systems.




      62.    Defendants’ platforms and systems practice each and every limitation

of claims 1-11 of the ʼ336 Patent and claims 1-7 of the ʼ311 Patent.

      63.    Plaintiff identifies, on the claim charts attached, those elements of

Defendants’ platforms and systems that Plaintiff believes at this time practice each

of the individual limitations of the ’336 and ʼ311 Patents.
                                            20
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 21 of 26 PageID: 21




      64.       Plaintiff’s identification of Defendants’ infringement is preliminary,

and Plaintiff expects to identify additional acts of infringement, and additional

mechanisms by which Defendants platforms and systems infringe, upon a reasonable

opportunity for discovery.

                       COUNT I –INFRINGEMENT OF ʼ336 PATENT

      65.       The foregoing numbered paragraphs are incorporated by reference into

this section.

      66.       Defendants have infringed one or more claims of the ʼ336 Patent by

making, using, selling, offering for sale, or selling products and/or services that meet

each of the limitations of one or more claims of the ʼ336 Patent. More specifically,

Defendant GAIN Capital Group, LLC has made, used, sold, and offered for sale

infringing instrumentalities at https://forex.com, and GAIN Capital Holdings, Inc.

has used those infringing instrumentalities, including the application programming

interfaces (“APIs”), to operate automated infringing trading systems.

      67.       Defendants have continued to operate their online trading platforms and

systems in an infringing manner, despite being notified of its infringement by

Plaintiff on at least one occasion by letter specifically referencing the ʼ336 Patent.

      68.       Defendants infringe each and every limitation of at least Claim 1 of the

ʼ336 Patent. See Claim Chart for ’336 attached as Exhibit D.




                                            21
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 22 of 26 PageID: 22




                      COUNT II –INFRINGEMENT OF ʼ311 PATENT

      69.       The foregoing numbered paragraphs are incorporated by reference into

this section.

      70.       Defendants have infringed one or more claims of the ʼ311 Patent by

making, using, selling, offering for sale, or selling products and/or services that meet

each of the limitations of one or more claims of the ʼ311 Patent. More specifically,

Defendant GAIN Capital Group, LLC has made, used, sold, and offered for sale

infringing instrumentalities at https://forex.com, and GAIN Capital Holdings, Inc.

has used those infringing instrumentalities, including the APIs, to operate automated

infringing trading systems.

      71.       Defendants have continued to operate their online trading systems in an

infringing manner, despite being notified of their infringement by Plaintiff on at least

one occasion by letter specifically referencing the ʼ311 Patent.

      72.       Defendants infringe each and every limitation of at least Claim 1 of the

ʼ311 Patent. See Claim Chart for ’311 attached as Exhibit E.

                COUNT III – CONTRIBUTORY OR INDUCED INFRINGEMENT

      73.       The foregoing numbered paragraphs are incorporated by reference into

this section.

      74.       On information and belief, Defendants use subcontractors, managers,

agents, or other third parties (“Third-Party Infringers”) to operate or assist in the

                                            22
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 23 of 26 PageID: 23




management of its online trading systems, or to provide additional services in

connection with its services, including by use of its platform’s APIs.           These

subcontractors or other third parties infringe one or more of the claims of the patent

in suit.

       75.      Defendants were aware of their infringement of the ’336 and ʼ311

Patents at least as early as October 25, 2018, when Plaintiff notified Defendants, by

letter, of its infringement and yet Defendants continue to cause its Third-Party

Infringers to operate or assist in the management of its online trading platforms on

its behalf.

       76.      Defendants continued use of Third-Party Infringers to operate its online

trading platforms on its behalf constitutes contributory and/or induced infringement.

                         COUNT IV – WILLFUL INFRINGEMENT

       77.      The foregoing numbered paragraphs are incorporated by reference into

this section.

       78.      At least as early as October 25, 2018, Defendants have been aware of

its infringement of OANDA’s patents. On that date, OANDA notified Defendants,

by letter, of its infringement and demanded that Defendants take a license or cease

its infringement. Defendants declined to do so.

       79.      Defendants’ continued infringement of the patent is willful given its

knowledge of the ’336 Patent and ʼ311 Patent.

                                            23
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 24 of 26 PageID: 24




                                PRAYER FOR RELIEF

Plaintiff prays for entry of judgment against Defendants, jointly and severally,

granting relief as follows:

   A. judgment that Defendants have infringed and continue to infringe one or more

      claims of the ʼ336 and ’311 Patents, directly and/or indirectly, literally and/or

      under the doctrine of equivalents;

   B. judgment that Defendants contribute to and induce the infringement of one or

      more claims of the ʼ311 and ʼ336 Patents, literally and/or under the doctrine

      of equivalents;

   C. an Order for an accounting;

   D. an award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

      Plaintiff for Defendants’ past infringements, and any continuing or future

      infringement, up until the date that Plaintiff’s patent expires;

   E. a determination of a reasonable royalty for any future infringement by

      Defendants, and an Order directing Defendants to pay such royalty on future

      infringement;

   F. as assessment of pre-judgment and post-judgment interest and costs against

      Defendants, and an Order awarding such interest and costs, in accordance with

      35 U.S.C. §284;




                                           24
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 25 of 26 PageID: 25




   G. that Defendants be directed to pay enhanced damages, including Plaintiff’s

      attorneys’ fees, incurred in connection with this lawsuit pursuant to 35 U.S.C.

      §285;

   H. an injunction against continued infringement, including but not limited to an

      injunction against Defendants and/or their agents; and

   I. such other and further relief as this Court may deem just and proper.



                                    JURY DEMAND

Plaintiff demands a trial by jury on all issues.

 Date: May 11, 2020                          Respectfully Submitted,

                                       By: /Erik Dykema/


                                             Erik Dykema
                                             (NJ Bar No. 021652010)
                                             erik@kzllp.com
                                             Koning Zollar LLP
                                             4 Manheim Road
                                             Essex Fells, New Jersey 07021
                                             T: 858.252.3234
                                             F: 858.252.3238

                                             Drew Koning
                                             (pro-hac vice application to be filed)
                                             drew@kzllp.com
                                             Blake Zollar
                                             blake@kzllp.com
                                             (pro-hac vice application to be filed)
                                             Koning Zollar LLP
                                             169 Saxony Road, STE 115
                                           25
Case 3:20-cv-05784-BRM-DEA Document 1 Filed 05/11/20 Page 26 of 26 PageID: 26




                                       Encinitas, CA 92024
                                       T: 858.252.3234
                                       F: 858.252.3238

                                       Shaun Paisley
                                       (pro-hac vice application to be filed)
                                       shaun@kzllp.com
                                       Koning Zollar LLP
                                       470 James Street, Suite 007
                                       New Haven, CT 06513
                                       T: 203.951.1213
                                       F: 858.252.3238

                                       ATTORNEYS FOR PLAINTIFF
                                       OANDA Corporation




                                     26
